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8                              UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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     MATHEW RENDON, individually,             CASE NO. 8:21-cv-00190-JLS-KES
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                  Plaintiff,
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13
           vs.                                          JUDGMENT
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     COUNTY OF ORANGE; KEITH S.
16   FRANKLIN; I. ZUMAR; EVER I.
     ZELAYA; and DOES 1 – 30, Inclusive
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18                Defendants.
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21                                      JUDGMENT
22         In accordance with the Court’s September 20, 2021 Order granting Defendants
23   County of Orange, Deputy Keith S. Franklin, and Deputy I. Zelaya’s Motion to
24   Dismiss Plaintiff Mathew Rendon’s operative First Amended Complaint (Doc. 31), it
25   is now ORDERED, ADJUDGED, and DECREED that judgement is entered in this
26   action as follows:
27         1.     Plaintiff Mathew Rendon shall recover nothing from Defendants County
28   of Orange, Deputy Keith S. Franklin, Deputy Ever Zelaya, and Deputy I. Zumar on
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1    Plaintiff Mathew Rendon’s First Amended Complaint;
2          2.    Plaintiff Mathew Rendon’s First Amended Complaint is dismissed in its
3    entirety;
4          3.    Defendants County of Orange, Deputy Keith S. Franklin, and Deputy
5    Ever Zelaya shall have judgment in their favor on Plaintiff Mathew Rendon’s First
6    Amended Complaint; and
7          4.    Defendants shall recover from Plaintiff Mathew Rendon costs of suit
8    pursuant to a bill of costs filed in accordance with 28 U.S.C. § 1920 and Local Rule
9    54.
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11   DATED: October 01, 2021
12                                   _________________________________________
13                                   HON. JOSEPHINE L. STATON
                                     UNITED STATES DISTRICT JUDGE
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